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IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF PENNSYLVANIA

 

KAREN MANERI : CIVIL ACTION
Plaintiff . Case No. 2:17-cv-03881
v, : JURY TRIAL DEMANDED
STARBUCKS CORPORATION :
Defendant
ORDER
AND NOW, this day of , 2017, upon

consideration of Plaintiff's Motion to Remand this matter to State Court, and any response thereto,
it is hereby ORDERED and DECREED that said Motion is granted. The within matter is hereby

remanded to State Court for further proceedings.

BY THE COURT:

 
